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 7                                 UNITED STATES DISTRICT COURT
 8                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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10    LEN NGUYEN,                                       No. 2:18-cv-01228-GGH
11                       Petitioner,
12           v.                                         ORDER
13    THOMAS D. HOMAN, et al.,
14                       Respondents.
15

16          Petitioner filed his petition for habeas corpus challenging his indefinite detention as an

17   alien who has been ordered removed. ECF No. 1. Respondent filed an answer to the petition on

18   July 18, 2019. Petitioner is instructed to file any response he may have to the answer within 45

19   days of the service of this Order.

20          It is THEREFORE ORDERED that:

21             1. Petitioner shall file any responsive pleading within 30 days of the service of this

22                 Order.

23             2. There is no order in this civil case which would permit sealing. The Clerk is

24                 ordered to make all filings in this case part of the public record.

25          IT IS SO ORDERED.

26   Dated: July 26, 2018

27                                                 /s/ Gregory G. Hollows
                                           UNITED STATES MAGISTRATE JUDGE
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